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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT CHARLESTON

 RANDY YOUNG,
       Plaintiff,

 v.                                                            Civil Action No. 2:23-cv-00764
                                                              Honorable Thomas E. Johnston
 WESTERN-SOUTHERN AGENCY, INC.
 a/k/a WESTERN & SOUTHERN
 FINANCIAL GROUP, WESTERN-
 SOUTHERN LIFE ASSURANCE
 COMPANY a/k/a WESTERN &
 SOUTHERN LIFE INSURANCE
 COMPANY,
         Defendants.

                                 AMENDED STIPULATION

       NOW COMES the Plaintiff, Randy Young, by counsel, Charles R. Bailey and the law firm of

Bailey & Wyant, PLLC and Western & Southern Agency, Inc. a/k/a Western & Southern Financial

Group, Western-Southern Life Assurance Company a/k/a Western & Southern Life Insurance

Company, by counsel, Joseph M. Ward and the law firm of Frost Brown & Todd LLP and hereby

stipulate that counsel for Randy Young shall have until January 30, 2024 to file a response to

Defendants’ Motion to Dismiss and Defendant shall have until February 8, 2024 to file a reply to

Plaintiff’s Response to Defendants’ Motion to Dismiss.

       Entered this 26th day of January, 2024.



/s/ Charles R. Bailey
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/s/ Joseph M. Ward (w/permission)
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Counsel for Western & Southern Agency, Inc.




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                                                           Honorable Thomas E. Johnston
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 a/k/a WESTERN & SOUTHERN
 FINANCIAL GROUP, WESTERN-
 SOUTHERN LIFE ASSURANCE
 COMPANY a/k/a WESTERN &
 SOUTHERN LIFE INSURANCE
 COMPANY,
         Defendants.

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of foregoing AAMENDED
STIPULATION@ was served upon the following parties through the Court=s Electronic Case Filing
(ECF) system on this day, January 26, 2024:
                                       Joseph M. Ward
                                   Frost Brown Todd LLP
                                 500 Virginia St. E, Ste 1100
                                Charleston, WV 25301-3204
                         Attorney For: Western-Southern Agency, Inc.


                                                 /s/ Charles R. Bailey
                                                 Charles R. Bailey (WV Bar #0202)
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                                                 Counsel for Randy Young
